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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                 CRIMINAL 13-0155CCC
 1) LUIS DIAZ-NATAL, a/k/a “Chencho”
 2) JESUS ACOSTA-MILLET, a/k/a “Lalo”
 3) JUAN PEREZ-MORALES, a/k/a “Charry,”
 “Joker”
 4) JORGE SANCHEZ-PEREZ, a/k/a “Joey”
 5) WILFRIDO COLON-RIVERA,
 a/k/a “Bimbo”, “Balu”
 6) ISMAEL LOPEZ-RIVERA, a/k/a “Machito”
 7) BIENVENIDO CLAS-OTERO,
 a/k/a “Biembe”
 8) ARMANDO JIMENEZ-RAMOS,
 a/k/a “Chory”
 9) ELIUD SERRANO-BARRIOS, a/k/a “Pipo,”
 “Pito”
 10) RAUL MENDEZ-ROMAN, a/k/a “Papelin”
 11) OMAR GONZALEZ-SOTOMAYOR
 12) CHRISTIAN GONZALEZ-SOTOMAYOR,
 a/k/a “Bombi”
 13) ALEXANDER RODRIGUEZ-RENTAS
 14) LUIS MIGUEL CRUZ-DAVILA
 15) ALEXANDER VELEZ-RODRIGUEZ
 16) VICTOR ORTIZ-SANTOS,
 a/k/a “Manuel,” “Crock”
 Defendants



                                            ORDER

       Having considered the Report and Recommendation filed on January 31, 2014
(docket entry 277) on a Rule 11 proceeding of defendant [11] Omar González-Sotomayor
before U.S. Magistrate Judge Bruce J. McGiverin on January 30, 2014, to which no objection
has been filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is
accepted. The Court FINDS that his plea was voluntary and intelligently entered with
awareness of his rights and the consequences of pleading guilty and contains all elements
of the offense charged in the indictment.
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CRIMINAL 13-0155CCC                          2

       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since January 30, 2014. The sentencing hearing is set for April 30,
2014 at 4:15 PM.
       The U.S. Probation Officer is reminded that, should any objections be raised by
defendant to the PreSentence Report, the Addendum to said PreSentence Report must
specifically identify any unresolved objections, the grounds for the objections, and the
U.S. Probation Officer’s comments on them, as required by Fed. R. Crim. P. 32(g). The
party that raised the unresolved objections shall, within twenty-four (24) hours after the
Addendum is disclosed, state in writing whether it will insist that the unresolved objections
be ruled upon by the Court. Failure to do so will be deemed by the Court as a withdrawal
of the unresolved objections.
       SO ORDERED.
       At San Juan, Puerto Rico, on March 10, 2014.



                                                 S/CARMEN CONSUELO CEREZO
                                                 United States District Judge
